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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    CENTER FOR BIOLOGICAL
    DIVERSITY, et al.,

          Plaintiffs,

          v.                                         CASE NO. 1:21-cv-00119 (RDM)

    U.S. ENVIRONMENTAL
    PROTECTION AGENCY, et al.,

          Defendants.


      PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
                MOTION FOR PARTIAL SUMMARY JUDGMENT

        Plaintiffs respectfully submit this Notice of Supplemental Authority in support of their

Motion for Partial Summary Judgment, filed March 5, 2021. (Doc. 31.) Specifically, Plaintiffs

notice: (1) the recent vacatur of the Navigable Waters Protection Rule (“NWPR”), a Trump-era

rule that curtailed the Clean Water Act’s protections, Pasqua Yaqui Tribe, et al. v. United States

Env’t Prot. Agency, et al., No. CV-20-00266-TUC-RM, 2021 WL 3855977, at *5 (D. Ariz. Aug.

30, 2021); (2) EPA and the Corps’ announcement that they have stopped applying the NWPR in

light of the court’s ruling, restoring a more expansive interpretation of waters of the United

States (Exhibit 1);1 and (3) the Florida Department of Environmental Protection’s (“FDEP”)

continued application of the NWPR for its Clean Water Act Section 404 program (Exhibit 2




1
 Available at https://www.epa.gov/wotus/current-implementation-waters-united-states (updated
Sept. 16, 2021). See Pharm. Rsch. & Mfrs. of Am. v. U.S. Dep’t of Health & Hum. Servs., 43 F.
Supp. 3d 28, 33 (D.D.C. 2014) (court may take judicial notice of information on government
agency websites).
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(continuing to direct applicants to vacated rule, 40 C.F.R. Part 120, for jurisdictional

determinations)).2

       In Pasqua Yaqui Tribe, the court found that the NWPR had substantially reduced the

number of waterways protected under Section 404 of the Clean Water Act. Id. Vacatur was

required because of the serious, fundamental flaws in the rule and because “remanding without

vacatur would risk serious environmental harm.” Id. But because FDEP continues to apply the

unlawful, vacated NWPR, the risk of serious environmental harm in Florida persists. Wetlands

not covered by the NWPR but that are now recognized as Section 404 waters can be dredged and

filled without a Clean Water Act permit and without Endangered Species Act review. The

question posed by Plaintiffs’ motion—whether EPA’s transfer of Section 404 authority from the

Corps to Florida was lawfully effectuated—has thus become all the more pressing. If Plaintiffs

prevail, authority over assumable waters would be restored to the Corps, and more Florida

wetlands would be protected under the Clean Water Act while EPA considers its next steps.

                                                      Respectfully submitted,

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 Available at https://floridadep.gov/water/submerged-lands-environmental-resources-
coordination/content/wotus-determinations (updated Oct. 5, 2021).
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                               CERTIFICATE OF SERVICE

      I hereby certify that, on this 28th day of October 2021, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.

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